      Case 2:13-cr-02094-TOR              ECF No. 817            filed 11/21/14          PageID.3153 Page 1 of 3
PROB 12B
(7/93)

                                         United States District Court

                                                            for the

                                          Eastern District of Washington

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                        (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Samuel Preciado-Sahagun                        Case Number: 0980 2:13CR02094-022
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: May 14, 2014                          Type of Supervision: Probation
 Original Offense: Unlawful Animal Fighting                       Date Supervision Commenced: May 14, 2014
 Venture, 7 U.S.C. § 2156(a)(1)
 Original Sentence: Prison - Probation - 36 Months                Date Supervision Expires: May 13, 2017


                                           PETITIONING THE COURT

To modify the conditions of supervision as follows:


 20        The defendant will make a request 10 days prior to traveling to Mexico. He shall explain the purpose of
           the travel and will provide the supervising officer with the address of where he will be staying while in
           Mexico. He shall maintain his cellular telephone while in Mexico, to allow for further communication as
           needed or necessary.


                                                           CAUSE

Samuel Preciado-Sahagun advised he has many relatives in Mexico, who are elderly or up in age. He would like to
be able to travel to Mexico on short notice to attend funerals or potentially visit ailing relatives. He has remained
compliant and cooperative throughout his term of supervision, to include, paying his fine in full. The officer
respectfully requests the Court grant the above-noted modifications of supervision.



                                                                                        Respectfully submitted,
                                                                               by       s/Stephen Krous
                                                                                        Stephen Krous
                                                                                        U.S. Probation Officer
                                                                                        Date: November 21, 2014
        Case 2:13-cr-02094-TOR         ECF No. 817         filed 11/21/14    PageID.3154 Page 2 of 3
       Prob 12B
       Re: Preciado-Sahagun, Samuel
       November 21, 2014
       Page 2

THE COURT ORDERS

[ ]        No Action
[ ]        The Extension of Supervision as Noted Above
[X ]       The Modification of Conditions as Noted Above
[ ]        Other

                                                                            Signature of Judicial Officer

                                                                            November 21, 2014
                                                                            Date
Case 2:13-cr-02094-TOR   ECF No. 817   filed 11/21/14   PageID.3155 Page 3 of 3
